Case 3:1 7-ov: 0072- eo . DO gL ed x Lo/27/2 Page 1 of 2 Paggid#: 22152
7 : Of

<A AIP ee LOL Vg |
Fo Te best i ‘Datri£ ULB Fa /e|
Chelottouile Devise

 

 

+ FILED iN OPEN COURT

 

S748, ef al, Pla Yehi Lbs UO) J DATE: YOURT
Keyser eal pe of eNcdlandts ee Te .

 

 

 

 

Civil Ce Me 29 2 [7 <x/-CRRBEPLELERKS

 

 

 

Octobe 16 Xion Peclera flor of

 

(hostoehel Cpe ell Regadins

 

JACe a Racal DiScCt minctoon Hlegatgeas

 

 

 

(Ee. Cit ophim Con er (| dg ALR , Atel

 

une Ly ae Peciucy (hi-- the Pollo tas

 

I tue Ghd Correct, oA_fAKS LG cle }

 

OI Ccfohpe Loe,

 

 

Any Nopnr_(5 Chlishoo Ma (aff tel), ond £

 

Gtr BA (hd ig tt, Acercen til, fx se Defeadeak

 

(A The Chow @ Shyled CLI

 

 

Wh Lom nok tAcacect] LF pake

 

(00 of a\ (AcOM € hos én 2 (ve,

 

Whreenforee, OPA Pleas falK la s/e

 

Shove’

 

 

As 4 Pre essen al talk Sho Aosxt of

 

LA iS yee, LE Speck, ond Aue fo fA&

 

eeint, LEST ILM, for a [ue

 

 

i

LA py. DteSS204, the Lyolle tells:

 

 

evecy Uiiag..

 

 

1 On_Octfohen LSM FE Palbliecke ¢

 

 

 

 

(A JAY J ele Cin.

 
Case 3:

I /-cv-00072-NKM-JCH Document 1334 Filed 10/27/21 Page 2of2 Pageid#: 22153

Devihs_ one of He Jud Pools LE defected

 

deceetian (rA_ fhe sp2eth pot ny of fe

 

SAF ON (White, AE Meck.

 

 

 

 

| Thi (5 Pec coef had nothing ty dg Ww (fb PAR

 

Mace of ctHiec JOC, L (ould Aor Made

 

HAC Saue obyetation hat LE JO RA fetta tig

 

 

D\ Phose, rt tout fhe benehit of sick t.

 

 

Y) Jpecit “teal, Fie. SACD ONSWRCE CUPRA

 

ULES _ OS. Hsueh MeN) Jee PUGS &

 

Salttosfie. joke « Tr (wens Oka, (0G 04S fo tae Hanes.

 

Plain ks Hy Counsel Ms Chete, | Bloch Wold Lesa

 

Or Phen co /| with Dk_{A Don LY. ey prs

 

Le You doing’ Grd Zi Jay (Tm fey beta FEC,

 

Mil 2, Lhat Ks fal CSKIPS\ Wen (tr Be, Edo '

 

 

[Ag t pochicu lol [ly Ch py peru, and Aavt,hom~

 

leary, ac mon [Shed rad 6 Col ler fo Sins AA

 

 

Pag icy of (eI [lhe ids GSC. Greeting,

 

qG) before fhe Plan felts: Challenge of Ou

 

 

(Pelempbacy stake, [Ole did of- £ acho

 

Age | rw leibeapions W ith PN Cad efencan AS

 

Aout @(t2ec JACOT

 

 

HausS so petred L say fh Ne 71 6c

 

Und rR“ Oath,

 

 

Resoectlully SubmtPZee ,

 

ChriSpophen Cenmtye/]

 

 

 

 

[C-26-762/

 

 

 

— tL
